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                        IN THE UNITED STA'L'ES DISCRTF COURT
                      FOR THE NORTHERN DISTRICT OF FLORIDA
                               TALLAHASSEE DIVISION

  T.W., P.M. and DISABILITY RIGHTS
  FLORIDA, on behalf of themselves
  and all others similarly situated,

  v.                                                          CASE NO.4:13 -CV- 457-RFUCAS

  MICHAEL CARROLL, in his official capacity
  as Secretary of the Department of
  Children and Families.



                                 SETTLEMENT AGREEMENT

         INTRODUCTION
         A. The Plaintiffs filed this lawsuit seeking declaratory and injunctive relief on behalf of
             persons with mental illness residing in Florida state mental health hospitals.
             Specifically, the Complaint alleged that Florida's mental healthcare system was in
             violation of Title lI of the Americans with Disabilities Act by not providing adequate
             community placements for individuals ready to be discharged from the hospitals. The
             Plaintiffs and the Defendant ( "DCF ") have worked diligently with an expert and a
             series of informal meetings to reach an agreement to settle this litigation. The Court
             has stayed this case during these negotiations. Upon execution of this Settlement
             Agreement, the Plaintiff agrees to voluntarily dismiss the case without prejudice.
         13. The Agreement of the parties is as follows:



  IL     IMPLEMENTATION PLAN
         C. Pilot project for improving utilization of Florida Assistive Community Treatment
            (FACT) resources and community supports.
            1. DCF agrees to request funding, preferably recurring, from the Florida Legislature
                to initiate a pilot project designed to more fully utilize existing FACT resources
                and thereby create additional opportunities for community integration of
                Floridians utilizing substance abuse and mental health services. A review of
                FACT discharge data has shown that very few FACT participants ever leave the
                program as a result of increased stability and subsequent transition to a lower
                level of care, which DCF hypothesizes may be occurring because FACT
                participants who clinically and functionally are ready for lower levels of care may
                nonetheless not be transitioned because they risk losing their housing subsidy.
                DCF agrees to request funding for the purpose of testing this theory; more
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               specifically, DCF agrees to request funding for a pilot transition voucher initiative
               to assist individuals to transition out of FACT teams while maintaining access to
               housing. Participants would receive a combination of long -term housing,
               treatment, and supportive services with the hope that these services will lead to
               improved residential stability and reductions in substance use and psychiatric
               symptoms, and which, in turn, would open FACT slots that would be made
              available to individuals who are awaiting discharge from state mental treatment
              facilities.
           2. Contingent on funding and direction from the Legislature, DCF agrees to develop
              a pilot project with the following general parameters:
                  a. FACT participants identified as meeting criteria for transitioning out of
                       FACT would be provided with a voucher that would allow them to
                       purchase services and supports in the community (including rental
                       assistance) from vendors of their choice. Conceptually, a care coordinator
                       would be responsible for enrolling eligible individuals and management of
                       the voucher, with fiscal accountability placed within the Managing
                       Entities. DCF would also need to develop a menu of allowable services
                       and supports based on ch. 65E- 14.021, F.A.C., as well as expectations for
                       transition to other fund sources based on factors such as subsequent access
                       to disability benefits, insurance, employment, or other available housing
                       options. The Parties anticipate the number of FACT participants that
                       could benefit from the pilot to be approximately 100; however, the Parties
                       recognize that the actual number of participants will depend on fact -
                       specific determinations made by treating professionals and not presently
                       known to the Parties.
                  b. The pilot would be implemented in one or more of the following areas:
                       Circuit 4 (Duval, Clay, and Nassau Counties); Circuit 6 (Pasco and
                       Pinellas Counties); and Circuit 13 (Hillsborough County).
                  c. if DCF obtains the appropriate approvals from the Legislature, and funds
                       are approved during FY 2015 -16 for use during FY 2016 -17, DCF could
                       begin in FY 2015 -16 to develop program specifications, rules, and
                       guidelines; work with managing entities, treatment facility staff, and
                       providers to develop an implementation plan; and identify and begin to
                       engage potential FACT participants to transition into the pilot program.
                  d. The Parties recognize that the success of the pilot may require patience:
                       transitions will take time, and it is imperative that FACT teams are not
                       overwhelmed by numerous discharges and admissions at one time.

      D.   Enhancing current practices and po ;icies
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             1. Defendant agrees to provide to Plaintiff any assessment tool for determining the
                housing and service needs and preferences of each hospital resident who has been
                determined ready for discharge, including for supported housing within fifkeen
                days of the effective date of this agreement. PIaintiff will provide input on such
                assessment tools within sixty days thereafter. Defendant agrees to evaluate any
                such recommendations in good faith and to pursue any changes Defendant
                believes to be necessary, whether or not those changes necessitate rulemaking.
           2. Defendant agrees to provide Plaintiff or qualified third parties access to its
                facilities in order to conduct "in- reach" activities by supported housing providers
                to help individuals in the hospitals make decisions regarding living in supported
                housing.
           3. Defendant agrees to provide to Plaintiff any transition -planning protocol currently
                in existence. If one is not in existence, Defendant agrees to develop such protocol
                as an operating procedure or by rule if necessary. Plaintiff will provide input on
                such protocol within sixty days in order to ensure that transition planning involves
                a representative from the individual's Managing Entity and includes the most
                integrated housing option appropriate to the individual's needs and preferences.
  III.   AGREEMENT
           A. The parties agree that the Implementation Plan is structured to resolve all issues
                which have been raised in the Complaint in this case and shall be implemented.
           B. Defendants have entered in to this Agreement in order to avoid the necessity of
                litigation. Nothing in this Settlement Agreement shall be construed as an
                admission of liability by Defendant, and this Settlement Agreement cannot be
                used as an admission by any Party in this or any other proceeding.
           C. The Implementation Plan and this Settlement Agreement are the products of
                extensive negotiation and resulting compromise by both Plaintiffs and Defendant.
           I). The Parties may schedule meetings of representatives for the Plaintiffs and the
                Defendant to discuss the Implementation Plan as necessary. The Parties agree
                that free, open, and frank discussions of problems, limitations, and successes will
                further the achievement of the goals of this Implementation Plan.
           E. All Parties agree to bear their own costs and fees associated with this litigation.
           F. In order to facilitate the execution of this Agreement, the Agreement may be
                signed in counterparts. A complete set of original signatures, whether in
                counterpart or otherwise, shall be maintained by Disability Rights Florida in
                conjunction with the case file in this matter.
           G. Plaintiffs agree to file a Notice of Voluntary Dismissal Without Prejudice in this
                case upon receipt of a fully executed Settlement Agreement.
           I-1. The Parties agree that the sole remedy for enforcement of this Settlement

                Agreement is by motion to enforce the Settlement Agreement. The Parties
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                 expressly waive any right to enforce this Settlement Agreement by collateral
                 breach of contract claim.


                                                                              the same,
   IN WITNESS WHEREOF, the parties to this Settlement Agreement have executed
   through the signatories below:

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   Dated:                                                    --
                                                       Rebecca Kfí ntst:t , General' Counsel
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   The foregoing Settlement Agreement was explained to the appropriate parties and executed
   accordance with our directions and advice.
                                                       Disability Rights Florida

   Dated:      ;;   /   ç                          (   By:      Ì  f )            j'f
                                                              David A. Boyer
                                                              Atto e      a                fs


   Dated:
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                                                              Attorney for De ndant
